Case 1:97-cr-00043-DHB-BKE Document 293 Filed 11/25/13 Page 1 of 5
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                   IN THE 'NITED 'TATES DISTRICTcouRT
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                                                                      25 Ptf2:3|
                  FORTHE SOUTHERNDISTRICTOF GEORGIA

                               AUGUSTADIVISION

 JAMESNATHANIELDIXON,

              Petitioner,

                                            cv 113-194
                                            (Formerly
                                                   CR 197-043)
 LTNITEDSTATESOF AMERICA,

              Respondent.


         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


       Petitioner,an inmateat U.S.P.Lee in Jonesville,Virginia, has filed w'ith this

 Courta motionunder28 U.S.C.$ 2255Io vacate,setaside,or correcthis sentence.The

 matteris now beforethe Courtfor an initial reviewof Petitioner'smotionasrequiredby

 Rule 4 of the RulesGoverningSection2255Proceedings
                                                  for the United StatesDistrict

 Courts. For the reasonsset forth below,the Court REPORTS and RECOMMENDS

 thatthe $ 2255motionbe DISMISSED,andthatthis civil actionbe CLOSED.

 I.    BACKGROUND

       On July 22, 1998,a jury in the SouthernDistrict of GeorgiaconvictedPetitioner

 ofone countof conspiracyto possess
                                  with intentto distributeanddistributionofcocaine

 baseand cocainehydrochloride,and one count of possession
                                                        with intent to distribute

 cocainehydrochloride.United Statesv. JamesNathanielDixon, CR 197-043,doc. no.

 178(S.D.Ga.July22, 1998)(hereinafter
                                   "CR 197-043-).On October5, 1998,United

 StatesDistrict JudgeDudley H. Bowen,Jr., sentenced
                                                  Petitioneron Count One to 324

monthsof imprisonment,5 yearsof supervised
                                         release,and a $100 specialassessment,
Case 1:97-cr-00043-DHB-BKE Document 293 Filed 11/25/13 Page 2 of 5



 andon CountTwo, to 240monthsof imprisonment
                                           to be servedconcurrentlywith Count

 One,3 yearsof supervised
                        releaseto be servedconcunentlywith CountOne,anda $50

                 (Id., doc.no. 197.) Petitionerfiled a directappeal,andthe Eleventh
 specialassessment.

 Circuit Court of AppealsaJfirmedhis convictionson February18, 2000. (Id., doc. no.

 211.) The SupremeCourtdeniedDixon's petitionfor wit of certiorarion February20,

                         531U.S.1155(2001).
 2001.Dixonv. UnitedStates,

        On January14,2002,Petitionersignedhis first g 2255motion,which was filed

 by the Clerkon January
                      22,2002.Dixonv. UnitedStates,       doc.no. 1 (S.D.
                                                 CV 102-008,

 Ga.Jan.22,2002) (hereinafter
                            "CV 102-008'). The petitionwasdismissedasuntimely,

 (id., doc. no. 5), and Judge Bowen denied Petitioner'srequestfor Certificateof

 AppealabilityC'COA) because
                           he wasunableto makea substantial
                                                         showingof a denial

 of a constitutionalright, (is!., doc. no. 9). The EleventhCircuit partially granted

 Petitioner'sCOA on the issueof whetherthe districtcourterredin dismissinghis petition

 as barredby the one-yearstatuteof limitationsdue to the incompleterecordbeforeit.

 Gd., doc. no. 10.) Subsequently,
                               the EleventhCircuit aJfirmedthe district court's

 dismissalof Petitioner's$ 2255motion. (Id., docno. 11.)

        Petitionerhasnow filed another$ 2255motion,whereinhe assefts,in light ofthe

       Court'srecentdecision
 Supreme                                            133S.Ct. 2151(2013),that
                           in Alleynev. UnitedStates,

                                           the "fact thatcausedhis statutoryminimum
 he is entitledto file a $ 2255motionbecause

 sentence[for Count One] of zero (0) yean underSection841(bXlXC)to increaseto a

                        of ten (10) yearsunderSection841(b)(1)(A)was neither
 mandatoryminimumsentence

                                  doubt." (Doc.no. 1, p. 10.)
 allegednor provenbeyonda reasonable
Case 1:97-cr-00043-DHB-BKE Document 293 Filed 11/25/13 Page 3 of 5



 II.    DISCUSSION

        Petitioner'sclaimsarebarredfrom reviewin this $ 2255proceedingby virtue of

 the successivemotion restrictionsenactedby the Antiterrorismand Effective Death

 PenaltyAct of 1996,C'AEDPA'),andnow containedin 28 U.S.C.$$2255and 2244(b).

 Section2255providesin relevantpart:

        A secondor successive motion must be certihedas providedin section
        2244by a panelofthe appropriate
                                      courtof appealsto contain-

        (l) newly discoveredevidencethat, if provenand viewedin light of the
        evidenceas a whole, would be sufficient to establishby clear and
        convincingevidencethat no reasonable  factfinderwould havefound the
        movantguilty of theoffense;or

        (2) a new rule of constitutional
                                      law, maderetroactiveto caseson collateral
        reviewby the SupremeCourt,thatwaspreviouslyunavailable.

 28 U.S.C.$ 2255. Section2244,intum, providesthatprior to filing a successive
                                                                            petition

 in the District Court,'1heapplicantshallmovein the appropriate
                                                              courtof appealsfor an

 order authorizing the district court to consider the application." 28 U.S.C. $

                                  1281,1281(1lthCir.2000)(percuriam)
 22aa$)G)@);seealsolnreJoshua,224F.3d

 (citing28 U.S.C.$$225s&,2244(b)(3)).

        Here, Petitionerhas previouslyfiled a $ 2255 motion that was dismissedas

 untimely. Petitioner'sargumentin his current motion is premisedon the Supreme

 Couft's recentdecisionin Alleyne, (seedoc. no. 1, p. 4), and is properlyclassifiedas

                     in the sensecontemplated
 "secondor successive"                      by $ 2255. In Stewartv. UnitedStates,

 646F.3d856,865(1lth Cir. 2011),thecourtdistinguished
                                                   betweennumerically
                                                                    second

 $ 2255 motionsand thosethat were baned as secondor successive,
                                                             holding that the

 petitioner'snumericallysecondmotionwas r?olsecondor successive
                                                              becausethe claim

        thereinwasnot yet ripe at the time of his first motion. In doing so, the Stewart
 asserted
Case 1:97-cr-00043-DHB-BKE Document 293 Filed 11/25/13 Page 4 of 5



                                     573 F.3d 214,222(5th Cir. 2009),notingthat,
 courtcitedto Leal Garciav. Ouarterman,

 like in that case,petitioner'smotionfell within a "small subsetof unavailableclaimsthat

 must not be categorizedas successive."Stewart,646 F.3d at 862. The Stewartcourt

 further noted that the Fifth Circuit's approachin Leal Garcia"is consonantwith the

 SupremeCourl'sreasoningin" Panettiv. Ouarterman,55lU.S.930(2007). Id.

                                    that "[n]ewly availableclaimsbasedon new rules
        Leal Garciaclearlyestablished

 of constitutionallaw (maderetroactiveby the SupremeCourt) are saccessive
                                                                        under

 S2244(b)(2)(A):Indeed,this is thereasonwhy'authorization
                                                        is neededto obtainreview
                        ..t   .
              petition."' Leal Garcia,573F.3dat 221(emphasis
 ofa successive                                            in original). The court

 further explainedthat the small subsetof claimsnot consideredsecondor successive

 were those"basedon a factual predicatenot previouslydiscoverable,"as opposedto

 those basedon a shift in the law. Id. In fact, the court noted that AEDPA was

 specificallydesignedto protectagainstprisoners"repeatedly[attacking]the validity of

                             as"the legallandscape
 their convictionsandsentences"                  shifts." Id.

        In sum,the Courtfinds that the instantpetitionis successive,
                                                                  andPetitionerdoes

 not statethat he hasbeengrantedpermissionto file a successive
                                                             $ 2255motion in this

                                              WL 556414'l(S.D.Ga. Oct.7,
 Court. SeeDoby v. UnitedStates,CV 113-152,2013

 2013) (Bow'en,J.) (dismissing$ 2255petitionas secondor successive
                                                                 wherepetitioner

 previouslyfiled a $ 2255motion,argumentin currentmotionwaspremisedon Allevne,

 and the currentmotionwas not authorizedby the EleventhCircuit); seealso Rhodesv.

 UnitedStates,
            CV 113-158,2013        at *2 (S.D.Ga.Oct.28, 2013)(Hall,J.)
                          WL 5797641,

        rThe Court is not awareof any authorityindicatingthat Allevne is retroactively
 applicable,andthe caseitselfprovidesno suchindication.
Case 1:97-cr-00043-DHB-BKE Document 293 Filed 11/25/13 Page 5 of 5



 ("Alleyne is not retroactivelyapplicableto caseson collateralreview."). Absent

 authorizationfrom the EleventhCircuit, this Court lacksjurisdiction to considerthe

                          motion. SeeHill v. Honper,112F.3d 1088,1089(1lth Cir.
 issuesraisedin Petitioner's

 1997)(per curiam)(determiningthat "the districtcourt lackedjurisdictionto consider

 Appellant Hill's requestfor relief becauseHill had not applied to this Court for

 permission                    petition");seealsoIn re Dean,341F.3d 1247,1248-
          to file a secondhabeas

 49 (1lth Cir. 2003)Qtercuriam)(denyingpermissionto file successive
                                                                  $ 2255motion

 alleging sentencingenor basedon successfulchallengeto stateconvictionsthat were

 usedto calculatefederalsentence).Accordingly,Petitioner'scurrent $ 2255 motion

 shouldbe dismissed.

 NI.   CONCLUSION

       Basedon ar initial reviewof the instant$ 2255motion,asrequiredby Rule 4 of

 the RulesGoveming$ 2255Cases,the Courtfinds the motionto be successive
                                                                      andnot

 authorized by    the   United States Court of       Appeals for    the   Eleventh

 Circuit. The CourtthereforeREPORTSand RECOMMENDS that the $ 2255motion

 beDISMISSED,andthatthis civil actionbeCLOSED.
                                   -J(
       SO REPORTED
                 andRECOMMENDED
                              this Jl day of November,2013,at

 Augusta,Georgia.
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                                         I,},IITEDSTATESMAGISTRATEruDGE
